






NO. 07-02-0131-CR


NO. 07-02-0132-CR


NO. 07-02-0133-CR


NO. 07-02-0134-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JUNE 13, 2002



______________________________




WILLIAM DARRELL EDWARDS, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 181ST DISTRICT COURT OF POTTER COUNTY;



NOS. 42,912-B, 42,914-B, 42,915-B, 42,916-B; HONORABLE JOHN BOARD, JUDGE



_______________________________



Before BOYD, C.J., and REAVIS and JOHNSON, JJ.

	Appellant William Darrell Edwards was convicted by a jury of aggravated sexual
assault of a child in three separate indictments and indecency with a child by sexual
contact.  He was sentenced to life imprisonment in each of the aggravated sexual assault
convictions and 20 years confinement in the Institutional Division of the Department of
Criminal Justice for the indecency with a child conviction, with the sentences to run
cumulatively.  The judgments in each proceeding show that sentencing took place on
December 19, 2001.  Motions for new trial were timely filed on January 18, 2002, and
untimely notices of appeal on March 20, 2002.  No motions for extensions of time were
filed.    	

	A timely notice of appeal is essential to invoke a court of appeals' jurisdiction.  Olivo
v. State, 918 S.W.2d 519, 522 (Tex.Crim.App. 1996).  If an appeal is not timely perfected,
a court of appeals is not vested with jurisdiction and, consequently, can take no action
other than to dismiss the appeal.  Id. at 523.  A notice of appeal in a criminal case must be
filed within 30 days after the day sentence is imposed or suspended in open court or within
90 days after sentence is imposed or suspended in open court if the defendant timely files
a motion for new trial.  Tex. R. App. P. 26.2(a).  If sentencing took place on December 19,
2001, as shown by the judgments in the clerk's records, then notices of appeal were due
to be filed on March 19, 2002, one day prior to the day the notices were filed.  

	Appellant's appellate counsel has written us that he was informed by trial counsel
that sentencing actually took place on December 20, 2001.  However, the reporter's record
shows only that the trial took place December 17-20, 2001.  In an attempt to convince us
that sentencing was on December 20, counsel has cited to portions of the reporter's record
where recesses were taken for the night, thereby sequentially implying that sentencing was
on the fourth day of trial, December 20, 2001.  Nevertheless, when faced with judgments
in the clerk's records clearly reciting that sentencing was on December 19, 2001, and no
docket notations showing when sentencing took place, we may not use such an
extrapolation to override the clear language of the judgments.  

	Alternatively, appellant requests that we suspend the operation of the rules pursuant
to Rule 2 of the Rules of Appellate Procedure and abate the appeals to the trial court to
hold a hearing to determine when sentencing took place.  However, as already stated, if
sentencing was on December 19, as the clerk's records clearly indicate, we have no
jurisdiction to take any action in these matters but to dismiss the appeals.  We therefore
lack the power to invoke Rule 2 to suspend operation of the rules.  Olivo, 918 S.W.2d at
523.

	The State has filed a response to appellant's arguments in which it indicates that
it does not oppose this court's exercise of jurisdiction under the facts before us. 
Nevertheless, the time limits in the Rules of Appellate Procedure are not discretionary, and
we cannot create jurisdiction where none exists.  Garza v. State, 896 S.W.2d 192, 194
(Tex.Crim.App. 1995). 

	Because the notices of appeal were untimely filed, we are without jurisdiction. 
Accordingly, we must and do hereby dismiss the appeals. 

							Per Curiam

Do not publish.



ier in the litigation.  Such pleadings could have had no bearing on the
court's dismissal of relator's suit under Chapter 11.   We have previously determined that
relator had an adequate remedy by appeal for the dismissal.  His present petition does not
demonstrate otherwise.  For these reasons, relator's petition does not show entitlement to
a writ of mandamus, and is denied. 

			

							Per Curiam


